Case:18-16796-MER Doc#:28 Filed:10/19/18                   Entered:10/19/18 08:52:28 Page1 of 1



                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF COLORADO

In re:                                                 )
                                                       )
REAGAN, MAIREN R                                       )        Case No. 18-16796 MER
                                                       )        Chapter 7
                               Debtor(s)

                    CERTIFICATE OF NON-CONTESTED MATTER AND
                           REQUEST FOR ENTRY OF ORDER

       JARED WALTERS, CHAPTER 7 TRUSTEE, Movant, has heretofore filed a motion
pursuant to Local Bankruptcy Rule 9013-1. Movant hereby represents and shows the court:

1.       Service of the Motion/Application, Notice and Proposed Order were timely made on all
         parties against whom relief is sought and those otherwise entitled to service pursuant to
         the Fed. R. Bankr. P. and the L.B.R. as is shown on the certificate of service, L.B. Form
         9013-1.1, previously filed with the Motion/Application on September 19, 2018.

2.       Mailing or other service of the notice was made on other creditors and parties in interest
         pursuant to L.B.R. 9013-1 and 2002-1.

3.       The docket numbers for each of the following relevant documents are:

         a.     the motion and all documents attached thereto and served therewith (Docket No.
                22);
         b.     the notice and certificate of mailing thereof, (Docket No. 23); and
         c.     the proposed order, (Docket No. 22).

4.      No objections to or requests for hearing on the Motion/Application were received by the
undersigned, or filed with the Court and docketed in the case file by the date designated in the
notice.

       WHEREFORE, Movant prays that the Court forthwith enter an Order, a form of which
was previously submitted, granting the requested relief.

Dated: October 19, 2018
                                                  RESPECTFULLY SUBMITTED,

                                                  By:_/s/ Jared Walters________
                                                     Jared Walters, # 32287
                                                     PO Box 804
                                                     Eagle, CO 81631-0804
                                                     (970) 456-3395
